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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
                         _____________________________________


UNITED SOVEREIGN AMERICANS, et al.,

        Petitioners,
                                                        Civil Action No. 2:24-CV-00184-Z
v.

JANE NELSON, Secretary of the State of
Texas, et al.,

        Respondents.


               RESPONDENT MERRICK GARLAND’S REPLY BRIEF
                   IN SUPPORT OF HIS MOTION TO DISMISS

        Petitioners’ response confirms that dismissal of their claims against the Federal

Respondent is warranted. Petitioners are not able to overcome the jurisdictional and

pleading issues raised in the Federal Respondent’s motion to dismiss. The Court should

dismiss Petitioner’s claims against Federal Respondent accordingly.

        None of Petitioners’ arguments overcomes their lack of standing in this case.

Petitioners cannot show that they suffered a concrete and particularized injury that is

either actual or imminent, that the injury is fairly traceable to the Attorney General, and

that a favorable decision will likely redress that injury. See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560–561 (1992). As such, Petitioners lack standing and this Court

does not have subject matter jurisdiction.




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I.      Petitioners fail to identify an injury-in-fact.

        First, Petitioners do not meet their burden to establish Article III standing for their

claims against Federal Defendant. As Petitioners acknowledge, Article III standing has

three elements: (1) injury in fact, (2) causation, and (3) redressability. See ECF No. 37,

at 7. Petitioners argue that Petitioner Johnson has suffered an injury because (1) he

“risked being ineffective in targeting his campaign,” due to alleged inaccurate voting

 registration indexes and (2) votes on his behalf in 2022 were diluted by votes cast by

 persons who were not eligible to vote. See ECF No. 37, at 9. The non-individual

 petitioners further argue that they have suffered injuries because CDF investigated and

 discovered uncounted ballots from the 2022 election, which affects members of its

 organization and the greater population of Texas, and that the alleged inaccuracies have

 impacted United’s ability to carry out its mission for all registered voters to protect them

 against voter dilution and other voter inaccuracies. Id. at 9-10. None of these allegations

 are concrete or particularized enough to allege an injury-in-fact.

        Petitioners cannot meet standing based on alleged work they put in to “comb

 through” voter data, contact State officials, and create a report on their findings. See ECF

 No. 37, at 11. Nor can they claim an injury based on choices that they made with respect

 to campaign strategy or based on a speculative risk that those choices were ineffective.

 See ECF No. 37, at 9. Petitioners’ choices on how to spend their time do not constitute

 injury in fact; indeed, such allegations are quintessential examples of a plaintiff seeking

 to “manufacture standing” by choosing to expend resources in a certain way. See, e.g.,

 Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013); FDA v. All. for Hippocratic


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Med., 602 U.S. 367, 394 (2024).

        Petitioners also claim to meet injury in fact based on their alleged fear that the

“errors” they believe occurred in 2022 “will reoccur.” See ECF No. 37, at 10. These

allegations amount to nothing more than “speculative fear” of future injury, without any

tangible connection to Federal Defendant. See Clapper, 568 U.S. at 410. Petitioners

cannot meet standing through such vague, unsupported allegations.

        As such, because Petitioners’ allegations do not amount to injury in fact, they lack

standing to sue Federal Defendant.

        The authority Petitioners cite is inapposite given Petitioners’ alleged harms. None

of these cases provide that a plaintiff meets Article III standing to sue the U.S. Attorney

General (or similar defendant) based on a fear that future election results will be

inaccurate. For example, Gray v. Sanders, 372 U.S. 368, 375 (1963) concerned a

constitutional challenge against Georgia election officials over vote counting and a

weighted vote system. The Court found the plaintiff, a qualified voter, had standing as a

“person whose right to vote is impaired” under the weighted vote system. Id. In Federal

Election Commission v. Akins, 524 U.S. 11, 21 (1998), the plaintiffs were a group of

voters who sought review of a decision by the Federal Election Commission, and brought

suit under FECA, which specifically authorized a private action. The Court found the

plaintiffs had prudential standing given FECA’s language authorizing suit for

“aggrieved” parties and the injury plaintiffs claimed. Id. at 19–20. In Baker v. Carr, 369

U.S. 186, 208 (1962), the plaintiffs were voters who challenged Tennessee’s

apportionment statute on the basis that the statute resulted in “a gross disproportion of


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 representation to [the] voting population” based on counties of residence. Given these

 allegations, the Court found that plaintiffs had standing because they asserted a “plain,

 direct, and adequate interest in maintaining the effectiveness of their votes,” not just a

 claim that “the government be administered according to law.” Id. And Massachusetts v.

 EPA, 549 U.S. 497 (2007) did not concern voting rights; there, the plaintiff was

 Massachusetts, which alleged specific environmental harms from greenhouse gas

 emissions. Id. at 521–22. The Court found standing because the plaintiff was a sovereign

 state, not a private individual, so entitled to “special solicitude in [the] standing analysis.”

 Id. at 518, 520. Thus, these cases do not support Petitioners’ attempts to establish

 standing to sue Federal Defendant.

         Last, Petitioners do not respond to Federal Defendant’s arguments regarding

 causation and redressability, and have waived this argument. Even still, Petitioners’

 complaint does not satisfy either element, as their alleged harms do not relate to action

 (or inaction) by Federal Defendant, nor does this Court have authority to order Federal

 Defendant to perform discretionary duties. ECF No. 28, at 13–14. Because Petitioners

 cannot establish standing, their claims against Federal Defendant should be dismissed for

 lack of jurisdiction.

II.      Petitioners’ mandamus claim should be dismissed for lack of jurisdiction.

         Petitioners’ mandamus claims also fail for lack of jurisdiction. Petitioners attempt

 to assert a mandamus claim based on the notion that Federal Defendant “has a duty to

 enforce and prosecute federal election laws. . . .” See ECF No. 37, at 6. As explained in

 the United States’ opening brief, investigating and prosecuting are quintessential


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  discretionary decisions. See United States v. Texas, 599 U.S. 670, 675 (2023). As such,

  Petitioners Mandamus claims fail.

III.      Petitioners cannot pursue their claims under the All Writs Act.

          Petitioners admit that the All Writs Act “is the only remedy available to compel

  Respondent State and County Officials” to regulate the election process. See ECF No. 37,

  at 12-14. But the All Writs Act does not provide an independent source of jurisdiction, so

  Petitioners are not separately entitled to mandamus relief under it. See Syngenta Crop

  Protection, Inc. v. Henson, 537 U.S. 28, 33 (2002) (noting “the All Writs Act does not

  confer jurisdiction under federal courts” so jurisdiction does not lie unless “specifically

  provide[d]” by Congress). Petitioners’ claims under the All Writs Act should be

  dismissed accordingly.

IV.       Conclusion

          For these reasons, Federal Respondent respectfully requests the Court grant his

  motion and dismiss all claims against Merrick Garland, in his official capacity as

  Attorney General of the United States of America, for lack of standing.




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                                                         Respectfully submitted,

                                                         LEIGHA SIMONTON
                                                         UNITED STATES ATTORNEY

                                                         /s/ Dawn Whalen Theiss
                                                         DAWN WHALEN THEISS
                                                         Assistant United States Attorney
                                                         Texas Bar No. 24051755
                                                         1100 Commerce Street, Third Floor
                                                         Dallas, Texas 75242-1699
                                                         Telephone: 214-659-8600
                                                         Facsimile: 214-659-8807
                                                         Dawn.theiss@usdoj.gov

                                                         Attorneys for Respondent Merrick
                                                         Garland


                                 CERTIFICATE OF SERVICE

        On December 26, 2024, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                         /s/ Dawn Whalen Theiss
                                                         DAWN WHALEN THEISS
                                                         Assistant United States Attorney




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